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                                                                          October 17, 2024

         BY ELECTRONIC CASE FILING
         Honorable Nina R. Morrison
         United States District Court Judge
         United States District Court
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201
                                            Re:           Besedin v. Nassau County et al.,
                                                          Docket No.: CV-18-0819 (NRM) (ST)
         Dear Judge Morrison:

                 As you are aware our office represents the Plaintiff, Robert Besedin, in the above referenced
         matter. We are writing this letter in accordance with Your Honor’s October 15, 2024 Order to
         provide an updated proposed exhibit list and remaining objections. Please see below:

         Plaintiff’s Proposed Exhibit List

                 Plaintiff proposes to include Plaintiff’s Exhibits 1, 2, 3, 4, 6, 71, 8, 9, 10, 11, 12, 13, 15, 16,
         17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 36, 37, 38, 41, 422, 43, 44, 45, 46, 47, and 52.

                Plaintiff does not intend to include Plaintiff's Exhibits 5, 10, 14, 28-35, 39, 40, 48, 49, 50,
         51 and 53.

                 We would like to inform the Court of an administrative error regarding Plaintiff’s Exhibits
         11 and 12. The radio calls as designated on our list are bate stamped # Besedin 328, which were
         intended to be included on our list were improperly identified as #Besedin 329-330, it should have
         been properly listed as #Besedin 328.The language we used in the JPTO for Exhibits 11 and 12
         states Audio CD of Radio calls. We provided the Court and Defendants with the 911 calls instead
         of the radio calls in error. Although Plaintiff does not intend to utilize the radio calls, if Defendants


                 1
                As for Plaintiff's Exhibit 7, Plaintiff reserves the right to confirm with the Court that
         Your Honor does not allow expert reports to be received into evidence.
                 2
                  Plaintiff anticipates using Plaintiff’s Exhibits 42 and 43 only to refresh recollection.
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are allowed to use the 911 calls which we object to as hearsay without an exception and that the 911
calls are uncertified, we would like to offer the radio calls into evidence.

Defendants’ Exhibit List
Plaintiff does not object to Defendants’ Exhibits C, D, E, F.
Plaintiff objects to Defendants’ Exhibits A and B based on the exhibits being uncertified and under
FRE 802, as both exhibits are hearsay without any exception.
Plaintiff objects to Defendants’ Exhibit G as it cannot be properly authenticated and it is
impermissible hearsay.
Plaintiff objects to Defendants’ Exhibit H which has no bates stamp, and it is substantially
prejudicial and should be excluded under FRE 403 and Plaintiff did not receive a copy during
discovery.


       Thank you for your consideration in this matter.

                                                     Respectfully submitted,
                                                     Cobia M. Powell
                                                     Cobia M. Powell
CMP.FKB
cc: : All Counsel (By ECF)




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